 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 1 of 19. PageID #: 640887




                               UNITED STATES DISTRICT COURT

                                NORTHERN DISTRICT OF OHIO

                                    EASTERN DIVISION

  IN RE NATIONAL PRESCRIPTION OPIATE        MDL 2804
  LITIGATION                                Case No. 17-md-2804
   This document relates to:                Hon. Dan Aaron Polster
   See cases listed in Exhibit A




       OMNIBUS MOTION FOR LEAVE TO AMEND TO ADD AHOLD DELHAIZE
            DEFENDANTS AND MEMORANDUM OF LAW IN SUPPORT




3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 2 of 19. PageID #: 640888



                                                   TABLE OF CONTENTS
                                                                                                                                 Page

INTRODUCTION ..........................................................................................................1
FACTUAL BACKGROUND ...........................................................................................2
            Facts Pertaining to the Ahold Delhaize Defendants ................................................... 3
            The Current Motion ......................................................................................................... 4
LEGAL STANDARD .....................................................................................................6
ARGUMENT ................................................................................................................6
I.          THE AMENDING PLAINTIFFS HAVE “GOOD CAUSE” TO AMEND THE
            SCHEDULING ORDER TO ADD AHOLD DELHAIZE AS A DEFENDANT. ...........6
            A.        Despite Their Diligence, the Amending Plaintiffs Could Not Meet the
                      Original Deadline with Respect to Ahold Delhaize. ....................................... 6
            B.        Ahold Delhaize Will Not Suffer Any Undue Prejudice If Plaintiffs Are
                      Permitted to Amend. ........................................................................................... 9
II.         AMENDMENT OF THE PLEADINGS IS PROPER UNDER RULE 15....................12
CONCLUSION ...........................................................................................................13




                                                                     i
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 3 of 19. PageID #: 640889



                                              TABLE OF AUTHORITIES
                                                                                                                         Page(s)

Cases
Brumbalough v. Camelot Care Ctrs., Inc.,
   427 F.3d 996 (6th Cir. 2005) ..................................................................................................13
Duggins v. Steak ’N Shake, Inc.,
  195 F.3d 828 (6th Cir. 1999) ..................................................................................................10
Fijalkowski v. Belmont Cnty. Bd. of Comm’rs,
    No. 2:17-cv-195, 2018 WL 1835444 (S.D. Ohio Apr. 18, 2018) ...................................6, 7, 8
Fraker v. Marysville Exempted Vill. Sch.,
   696 F. Supp. 2d 887 (S.D. Ohio 2010) ..................................................................................10
Hammock v. Rogers,
  No. 1:17-cv-1939, 2018 WL 8414482 (N.D. Ohio Dec. 17, 2018) ........................................9
In re Nat’l Prescription Opiate Litig.,
    2022 WL 20701236 (6th Cir. Nov. 10, 2022) .......................................................................11
In re Nat’l Prescription Opiate Litig.,
    589 F. Supp. 3d 790 (N.D. Ohio 2022) .................................................................................11
In re Nat’l Prescription Opiate Litig.,
    956 F.3d 838 (6th Cir. 2020) ..................................................................................................10
In re Nat’l Prescription Opiate Litig.,
    MDL No. 2804, Transfer Order (J.P.M.L. Dec. 5, 2017) ....................................................12
J&R Passmore, LLC v. Rice Drilling D, LLC,
   No. 2:18-cv-1587, 2024 WL 111661 (S.D. Ohio January 10, 2024) ...............................8, 12
Joseph v. Joseph,
    No. 1:16-cv-465, 2017 WL 5953119 (S.D. Ohio Jan. 10, 2017).....................................6, 7, 8
Landstar Ranger, Inc. v. City of Delaware, Ohio,
   No. 2:22-CV-02008, 2022 WL 7322274 (S.D. Ohio Oct. 13, 2022) ....................................12
Leary v. Daeschner,
   349 F.3d 888 (6th Cir. 2003) ....................................................................................................8
O’Neal v. Denn-Ohio, LLC,
   No. 3:19-cv-280, 2020 WL 210801 (N.D. Ohio Jan. 14, 2020) .............................................9
Phelps v. McClellan,
   30 F.3d 658 (6th Cir. 1994) ....................................................................................................10
Rapp v. Forest City Techs., Inc.,
   No. 1:20-cv-2059, 2021 WL 4713394 (N.D. Ohio June 17, 2021) ................................6, 7, 8


                                                                 i
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 4 of 19. PageID #: 640890



                                                 TABLE OF AUTHORITIES
                                                                                                                                 Page(s)

Salerno v. Fam. Heritage Life Ins. Co. of Am.,
    No. 1:23-cv-01419, 2024 WL 2235772 (N.D. Ohio May 17, 2024) ......................................7
York v. Lucas Cnty., Ohio,
   No. 3:13 cv 1335, 2015 WL 2384096 (N.D. Ohio May 19, 2015) .........................................9
Statutes
28 U.S.C. § 1407 ...........................................................................................................................12
Court Rules
Fed. R. Civ. P. 15............................................................................................................1, 2, 12, 13
Fed. R. Civ. P. 15(a)(2) ................................................................................................................12
Fed. R. Civ. P. 16.................................................................................................................. passim
Fed. R. Civ. P. 16(b) .......................................................................................................................6




                                                                     ii
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 5 of 19. PageID #: 640891




                                        INTRODUCTION
            In accordance with this Court’s Order dated May 23, 2024, Doc. #5455, the

Plaintiffs listed in Exhibit A (“Amending Plaintiffs”) hereby move for leave to amend

their operative complaints pursuant to Federal Rules of Civil Procedure 15 and 16 to add

the Ahold Delhaize Defendants1 beyond the deadline for amendment of pleadings set

forth in this Court’s case management orders and submit this Memorandum of Law in

support thereof. If permitted to amend, Plaintiffs here would supplement their existing

pleadings with claims substantially similar to those asserted against chain pharmacies in

the first amended CT8 bellwether complaint in Cobb County v. Purdue Pharma, LP, et al,

No. 1:18-op-45817-DAP, Doc. #3787 July 14, 2021) (adjusted for the law of their particular

jurisdiction), and add additional defendant specific facts, including those detailed herein.

None of the Amending Plaintiffs have sued Ahold Delhaize in their currently operative

pleadings.

            Leave should be granted for two reasons. First, more fully described below, the

most recent ARCOS data obtained from the federal Drug Enforcement Administration

(DEA) shows that, in the period 2006-2019, Ahold Delhaize had a dispensing market

share of 5% or more in each of the Amending Plaintiff’s jurisdictions.             ARCOS

information on volume and market share for dispensers in any year was not available to



1 The Ahold Delhaize Defendants are: Koninklijke Ahold Delhaize N.V.; Ahold Delhaize

USA, Inc.; Ahold U.S.A., Inc.; American Sales Company LLC; ADUSA Distribution, LLC
f/k/a Delhaize America Distribution LLC; Food Lion, LLC; The Giant Company LLC
f/k/a Giant Food Stores, LLC; The Stop & Shop Supermarket Company LLC; and
Hannaford Bros. Co., LLC. This motion refers to these three Defendants collectively as
“Ahold Delhaize” or the Ahold Delhaize Defendants.

                                               1
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 6 of 19. PageID #: 640892




the Amending Plaintiffs with respect to Ahold Delhaize prior to May 7, 2019, when

expanded reports containing dispensing market share information created from the 2006

– 2014 ARCOS data were made available to MDL Plaintiffs who signed a protective order.

Doc. #1612. This disclosure was well after the deadline for many of these plaintiffs to

amend their pleadings under the applicable case management orders in this MDL.2

Second, prior to the CMO deadline for amendment, sufficient information about the

improper dispensing practices of the chain pharmacies like Ahold Delhaize, was not

known, since discovery into the dispensing practices of chain pharmacies had not been

undertaken. These two grounds independently establish that, even with the exercise of

due diligence, the Amending Plaintiffs could not have met the deadline for adding Ahold

Delhaize because the information on which they are basing their claims was not available

to them.

            Because they could not, even with due diligence, have met the deadline to amend

their complaints to add these claims against Ahold Delhaize, and because, as discussed

below, Ahold Delhaize will not be prejudiced by these amendments, this Court should

find that each of the Amending Plaintiffs has shown “good cause” within the meaning of

Rule 16, and that amendment is proper under Rule 15, and should grant their motions to

amend their pleadings to add Ahold Delhaize.

                                   FACTUAL BACKGROUND
            The facts pertaining generally to the procedural history of these cases and the



2 As discussed below, MDL plaintiffs were required to amend their pleadings by the later

of: (1) March 16, 2019 or (2) 90 days after transfer into the MDL.

                                               2
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 7 of 19. PageID #: 640893




deadlines set by the Court for the amendment of pleadings, as well as the development

of the dispensing case over the course of the litigation, are set forth in the PEC’s Roadmap

Overview for Motions for Leave to Amend, which Amending Plaintiffs incorporate by

reference herein and to which the Court is respectfully referred.

Facts Pertaining to the Ahold Delhaize Defendants
            If granted leave to amend, the Amending Plaintiffs would plead the following

facts among others.

            Ahold Delhaize is one of the world’s largest food retail groups. In the United

States, Ahold Delhaize operates more than 2,000 stores across 23 states under the banners

Stop & Shop, the Giant Company, Giant, Food Lion, Martin’s, Hannaford, FreshDirect

and Peapod. Ahold Delhaize companies act as opioid distributors and dispensers.

            Atop the Ahold Delhaize corporate pyramid is the Dutch company Koninklijke

Ahold Delhaize N.V., based in Zaandam, Netherlands. Ahold Delhaize USA, Inc. is a

subsidiary of Koninklijke Ahold Delhaize N.V. and the parent company for all the

corporate family’s U.S. subsidiaries. Ahold Delhaize USA Inc. operates as a licensed

wholesale pharmaceutical distributor under the following two named entities: Ahold

U.S.A., Inc. and American Sales Company LLC. ADUSA Distribution, LLC (f/k/a

Delhaize America Distribution LLC) is listed in the ARCOS data as the reporter family

for these distributors. Subsidiaries of Ahold Delhaize USA, Inc. operate stores with

pharmacies, including the Defendants: Food Lion, LLC, which operates more than 1,100

stores in the Southeast under the Food Lion banner; The Giant Company LLC f/k/a Giant

Food Stores, LLC, which operates more than 150 stores with pharmacies in Delaware,


                                               3
3070000.5
    Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 8 of 19. PageID #: 640894




Maryland, Virginia and Washington, D.C. under the Giant Food brand; The Stop & Shop

Supermarket Company LLC, which operates more than 395 stores under the Stop & Shop

brand, including in Massachusetts, New Jersey, New York and Rhode Island; and

Hannaford Bros. Co., LLC, which operates more than 180 stores in the Northeast. This

motion refers to all of these Defendants collectively as “Ahold Delhaize.”

            Ahold Delhaize dispensed more than 1.4 billion dosage units (DUs) and 31.7

billion MME of opioid products from 2006 to 2019, with hydrocodone and oxycodone

accounting for the largest portion of drugs it dispensed. In 2011 alone, Ahold Delhaize

dispensed more than 120 million DUs of opioids products. In 2019, Ahold Delhaize

dispensed more than 2.6 billion MME of opioids products, a 38% increase from 2006.3

            Ahold Delhaize has not been named in a bellwether case, or to the best of counsel’s

knowledge, been a defendant in an opioid case in state court. Consequently, no discovery

has been undertaken with respect to Amending Plaintiffs’ dispensing claims.

The Current Motion
            On May 24, 2024, this Court granted the PEC’s motion to lift the moratorium on

motion practice to allow non-bellwether MDL plaintiffs to seek leave to amend their

pleadings in order to add defendants they had not previously named. The Amending

Plaintiffs—none of whom previously sued Ahold Delhaize—now seek leave to amend to

add claims against Ahold Delhaize based on two grounds.

            First, Amending Plaintiffs whose amendment deadline expired before the PEC’s



3 Details pertaining to Ahold Delhaize’s market share in each Amending Plaintiff’s
jurisdiction are set forth in Exhibit A.

                                                 4
3070000.5
 Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 9 of 19. PageID #: 640895




release of ARCOS data in 2019 seek to amend based on data that is now available to them

about the extent of Ahold’s dispensing in their jurisdiction. Second, all Amending

Plaintiffs seek leave to amend based on the discovery of new facts regarding the improper

dispensing practices of the chain pharmacies like Ahold, which was not previously

known prior to the discovery and proceedings in CT3, CT4, and in the case brought by

the State of New Mexico. See Corrected Roadmap Br. at 18-22. Sufficient information

was not available to bring pharmacy dispensing claims until after the last deadline to

amend for any of the Amending Plaintiffs adding Ahold, which was in mid-2019, long

before the basis for the dispensing claims was developed.

            Each Amending Plaintiff is a jurisdiction or operates within a jurisdiction in which

Ahold Delhaize has a 5% or greater market share as a dispenser (dosage unit or MME)

over the entire ARCOS period of 2006-2019. The jurisdiction-specific facts pertaining to

each Amending Plaintiff’s jurisdiction claims are shown on Exhibit A. The Amending

Plaintiffs seek to assert the same causes of action against Ahold arising out of its role as a

dispenser of controlled substances that they asserted against the same category of

defendants – chain pharmacies – in their currently operative complaints, adding

dispensing allegations from the currently operative CT8 complaint as set forth above.

            As described below, none of the Amending Plaintiffs could have met the existing

deadline for amendment with respect to Ahold because the information on which they

seek to base their claims was not available by the applicable deadline to amend.

Moreover, as further discussed below, amendment of these cases to include Ahold

Delhaize will not prejudice those defendants because the Amending Plaintiffs’ actions

                                                 5
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 10 of 19. PageID #: 640896




have all been stayed since the CMO amendment deadline passed.

                                       LEGAL STANDARD
            The legal standards applicable to this motion are set forth in the PEC’s Roadmap

Overview for Motions for Leave to Amend, which Amending Plaintiffs incorporate by

reference herein and to which the Court is respectfully referred.

                                          ARGUMENT
I.          THE AMENDING PLAINTIFFS HAVE “GOOD CAUSE” TO AMEND THE SCHEDULING
            ORDER TO ADD AHOLD DELHAIZE AS A DEFENDANT.
            A.    Despite Their Diligence, the Amending Plaintiffs Could Not Meet the
                  Original Deadline with Respect to Ahold Delhaize.
            The Amending Plaintiffs meet the diligence test for amending the scheduling

order to permit amended pleadings: the information on which they seek to based their

amended pleadings was not available until after the deadline for plaintiffs to amend had

passed. See Rapp v. Forest City Techs., Inc., No. 1:20-cv-2059, 2021 WL 4713394, at *3–4

(N.D. Ohio June 17, 2021) (“Because this evidence was not reasonably available to Rapp

until well after the deadline date passed, Rapp could not reasonably have met the

deadline despite due diligence.”); Fijalkowski v. Belmont Cnty. Bd. of Comm’rs, No. 2:17-cv-

195, 2018 WL 1835444, at *2 (S.D. Ohio Apr. 18, 2018) (“New information can constitute

good cause under Rule 16(b).”); Joseph v. Joseph, No. 1:16-cv-465, 2017 WL 5953119, at *2

(S.D. Ohio Jan. 10, 2017) (finding good cause existed when “the documents upon which

the proposed amendment [was] largely based were not produced until more than two

months after the . . . motion to amend deadline”).

            For Amending Plaintiffs with an amendment deadline before May 7, 2019, there

was no data whatsoever available about Ahold’s market share as a dispenser of opioids.

                                                6
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 11 of 19. PageID #: 640897




That is because ARCOS data does not contain dispensing information. Thus even after

the DEA began producing that data in 2018, expert analysis was required to determine,

from the distribution data that was provided, what a particular pharmacy’s dispensing

market share was. See Corrected Roadmap Br. at 21-22; Mougey Dec. at ¶ 14. But the PEC

was originally not permitted to disclose the results of this analysis. Rather, prior to May

7, 2019, the Amending Plaintiffs were provided only with the identity of the pharmacies

who dispensed any amount of opioids in their jurisdiction; the PEC was precluded from

providing plaintiffs with the amounts of opioids sent to pharmacies by other distributors.

See Doc. #1106. As a result, Amending Plaintiffs were unable to determine the extent of

Ahold’s dispensing activities in their jurisdictions at any time prior to May 7, 2019, when

the PEC made available for the first time dispensing market share information for the

period 2006-2014. Doc. #1612. Updated information, showing the extent of Ahold’s

dispensing in each jurisdiction through 2019 did not become available until 2023..

            These facts support a finding of “good cause” for each Amending Plaintiff with an

amendment deadline prior to release of ARCOS market share data in 2019 to amend its

complaint to add Ahold Delhaize. See Salerno v. Fam. Heritage Life Ins. Co. of Am., No. 1:23-

cv-01419, 2024 WL 2235772, at *2 (N.D. Ohio May 17, 2024) (“Sixth Circuit courts regularly

grant leave for a party to amend its pleadings when discovery ‘apparently confirmed [the

party’s] suspicions so that the company could assert [additional] claims.’”); see also Rapp,

2021 WL 4713394, at *3–4 ; Fijalkowski, 2018 WL 1835444, at *2 ; Joseph, 2017 WL 5953119,

at *2.

            While the ARCOS data made available in 2019 is by itself sufficient to constitute

                                                7
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 12 of 19. PageID #: 640898




good cause, the development of the cases against pharmacy dispensers in the previous

pharmacy bellwethers provides an additional basis to allow the amendments for all

Amending Plaintiffs. Prior to CT1B/CT3, MDL plaintiffs did not pursue dispensing

claims – indeed, the lead bellwether plaintiffs in CT1 expressly disclaimed them.     No

discovery was undertaken on dispensing claims against chain pharmacies until the after

the CT3 amendments. Without this discovery, especially the dispensing data disclosing

“red flag” prescriptions produced and analyzed in those cases, Amending Plaintiffs had

no reason to undertake the considerable time and expense of prosecuting dispensing

claims against large corporations, such as Ahold Delhaize. Once liability based on the

dispensing theories was confirmed by both the CT3 jury verdict and further discovery

and by verdicts in the other bellwether pharmacy cases in jurisdictions across the county,

Amending Plaintiffs possessed the necessary information to bring the dispensing claims

against Ahold Delhaize.

            The fact that the information on which the proposed amended pleading will be

based was not available until months or years after the amendment deadlines shows that

the Amending Plaintiffs could not, even with the exercise of diligence, have met the

original CMO deadlines. This is sufficient to meet the “diligence” prong of the “good

cause” analysis. See Leary v. Daeschner, 349 F.3d 888, 907 (6th Cir. 2003); see also J&R

Passmore, LLC v. Rice Drilling D, LLC, No. 2:18-cv-1587, 2024 WL 111661, *2 (S.D. Ohio

January 10, 2024) (“Diligence can be established when the information supporting an

amendment is not disclosed until after the amendment deadline set in the scheduling

order.”); Rapp 2021 WL 4713394, at *3–4; Fijalkowski, 2018 WL 1835444, at *2; Joseph, 2017

                                              8
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 13 of 19. PageID #: 640899




WL 5953119, at *2.4

            This Court has held that a diligent plaintiff may reasonably wait for the fruits of

discovery to identify additional defendants. O’Neal v. Denn-Ohio, LLC, No. 3:19-cv-280,

2020 WL 210801, at *2 (N.D. Ohio Jan. 14, 2020); Hammock v. Rogers, No. 1:17-cv-1939, 2018

WL 8414482, at *6 (N.D. Ohio Dec. 17, 2018) (good cause shown where plaintiff’s “ability

to name new parties was somewhat hamstrung by the amount of time it took to get the

names of the proposed additional defendants through discovery”); York v. Lucas Cnty.,

Ohio, No. 3:13 cv 1335, 2015 WL 2384096, at *4 (N.D. Ohio May 19, 2015) (plaintiff was

sufficiently diligent in waiting to obtain the names of new defendants in discovery

“rather than to take a shotgun approach and seek dismissal of unnecessary parties later”).

Given the limited nature of information concerning the chain pharmacies’ market share

and dispensing practices prior to the deadline in CMO1, none of the Amending Plaintiffs

lacked diligence in waiting to seek leave to amend until the facts demonstrating the full

basis of claims against them became available.

            B.     Ahold Delhaize Will Not Suffer Any Undue Prejudice If Plaintiffs Are
                   Permitted to Amend.
            It is clear that Ahold Delhaize will not suffer any prejudice from the filing of the




4 The PEC moved this Court to lift the moratorium on motion practice to allow MDL

plaintiffs to seek leave to amend on April 22, 2024. See Doc. #5411. That the Amending
Plaintiffs did not seek leave to amend before that time does not indicate a lack of diligence
because, as described above, all a showing of “good cause” under Rule 16 requires is an
explanation of why the party could not, even with the exercise of diligence, have met the
original deadline. The passage of additional time after that is relevant to the question of
prejudice to the opposing party, see Point I-B, infra, but not to the reason the Amending
Plaintiffs could not have met the March 16, 2019, deadline in the first place.

                                                 9
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 14 of 19. PageID #: 640900




amended complaints at issue here. That is because each of the Amending Plaintiffs’ cases

has been stayed since the original deadline for the filing of amended pleadings. There

has been no discovery, no motion practice, no litigation of any kind. Ahold Delhaize will

be in the exact same position, with respect to each of the Amending Plaintiffs’ cases, that

it would have been in had the cases been stayed with Ahold Delhaize already in them.

See Phelps v. McClellan, 30 F.3d 658, 663 (6th Cir. 1994) (among the factors considered in

assessing prejudice from a delayed amended pleading are “whether the assertion of the

new claim or defense would . . . require the opponent to expend significant additional

resources to conduct discovery and prepare for trial [or] significantly delay the resolution

of the dispute. . . .”). Cf. Duggins v. Steak ’N Shake, Inc., 195 F.3d 828, 834 (6th Cir. 1999)

(where discovery and dispositive motion deadlines had passed, and a motion for

summary judgment had been filed, amendment to add a different claim would create

significant prejudice to defendants); Fraker v. Marysville Exempted Vill. Sch., 696 F. Supp.

2d 887, 893 (S.D. Ohio 2010) (plaintiff could not amend to add new defendants after close

of discovery and briefing of motion for summary judgment; new defendants would be

“severely prejudiced if they were added at this late juncture, having been deprived of

their right to conduct discovery and file dispositive motions”).5

            This is especially true because Ahold Delhaize has known since the formation of

the MDL that it was a defendant in some cases before this Court. In that circumstance,


5 Cf. In re Nat’l Prescription Opiate Litig., 956 F.3d 838 (6th Cir. 2020) (precluding
amendment of scheduling order where defendants had been subject to discovery and
briefing on substantive motions, and where plaintiffs had previously disavowed claims
they later sought to add).

                                               10
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 15 of 19. PageID #: 640901




the need to defend additional cases does not constitute undue prejudice. See In re Nat’l

Prescription Opiate Litig., 2022 WL 20701236 (6th Cir. Nov. 10, 2022) (litigation costs of

being named in additional cases not undue prejudice because defendants knew that they

could face these costs from the time they were added to the MDL.”). Nor could Ahold

Delhaize rely on the number of cases in this MDL in which it was named to estimate the

likely scope of its liability. In most instances, for governmental plaintiffs, the primary

claim is for abatement of a public nuisance, and the underlying nuisance of the opioid

epidemic is an ongoing condition such that, with respect to most jurisdictions, the statute

of limitations does not bar the claim.6 Consequently, Ahold Delhaize has always known

that governmental entities—whether plaintiffs in this MDL or not—could file new cases

against it.

            Indeed, if leave to amend is not granted, the Amending Plaintiffs can simply file

their claims against Ahold Delhaize in new stand-alone cases. Thus, the question is not

whether the new claims against Ahold Delhaize will be brought; the question is where these

claims will be brought. The issue, then, is whether these claims arising from the same

opioid crisis are coordinated for discovery and management with other claims against

the same defendant and/or the same category of defendant. In this context, Rule 1’s

command that the Federal Rules be construed and administered to secure the “just,

speedy, and inexpensive determination of every action and proceeding” counsels in favor


6 See, e.g., In re Nat’l Prescription Opiate Litig., 589 F. Supp. 3d 790, 825-26 (N.D. Ohio 2022)

(holding under Ohio law that “absolute and statutory public nuisance claims are exempt
from a statute of limitations,” and that defendants may remain “subject to liability for
abatement of any ongoing consequential effects of the nuisance”).

                                                11
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 16 of 19. PageID #: 640902




of permitting the addition of Ahold Delhaize. In any event, Ahold Delhaize cannot

demonstrate that it will be prejudiced by having the claims against it coordinated in these

proceedings rather than scattered around the country. See 28 U.S.C. § 1407 (actions may

be transferred and coordinated upon determination such transfer “will be for the

convenience of parties and witnesses and will promote the just and efficient conduct of

such actions.”); In re Nat’l Prescription Opiate Litig., MDL No. 2804, Transfer Order at 3

(J.P.M.L. Dec. 5, 2017) (finding that centralization and coordination of opioid cases “will

serve the convenience of the parties and witnesses and promote the just and efficient

conduct of the litigation.”).

            Because the Amending Plaintiffs have shown both diligence and lack of prejudice,

this Court should find “good cause” under Rule 16 to amend the scheduling order to

permit the filing of amending pleadings against Ahold Delhaize.

II.         AMENDMENT OF THE PLEADINGS IS PROPER UNDER RULE 15
            The requirements of Rule 15 are also satisfied. Under Rule 15, “the court should

freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2). Because

the Rule 16 standard is recognized to be more “stringent,” see Landstar Ranger, Inc. v. City

of Delaware, Ohio, No. 2:22-CV-02008, 2022 WL 7322274, at *4 (S.D. Ohio Oct. 13, 2022),

and to set a “higher threshold,” see J&R Passmore, 2024 WL 111661, at *1, a party that can

establish diligence and lack of prejudice under Rule 16 can generally satisfy the broader,

more liberal standard of Rule 15. In this case, leave to amend should be granted in the

interests of justice.

            Only two of the Rule 15 factors—bad faith and futility of amendment—are not


                                               12
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 17 of 19. PageID #: 640903




subsumed within the Rule 16 “good cause” analysis. See Brumbalough v. Camelot Care

Ctrs., Inc., 427 F.3d 996, 1001 (6th Cir. 2005) (identifying “undue delay in filing, lack of

notice to the opposing party, bad faith by the moving party, repeated failure to cure

deficiencies by previous amendments, undue prejudice to the opposing party, and futility

of amendment” as factors to be considered under Rule 15). 7 Neither is applicable here.

As noted above, the Amending Plaintiffs seek to add claims against Ahold Delhaize

similar to those they have asserted against other manufacturers—and similar to claims

this Court previously found sufficiently stated to preclude dismissal under Rule 12. Nor

is there, nor could there be, any suggestion of bad faith with respect to any of the

Amending Plaintiffs. Because the Amending Plaintiffs have shown good cause under

Rule 16 and because it is in the interest of justice to permit them to amend their pleadings

in order to add Ahold Delhaize, the requirements of Rule 15 are also satisfied.

                                         CONCLUSION
            For the foregoing, reasons, this Court should grant leave to all of the Amending

Plaintiffs to amend their complaints in order to add the Ahold Delhaize Defendants.

Dated: July 30, 2024                           Respectfully submitted,

                                                 Jayne Conroy
                                                 SIMMONS HANLY CONROY
                                                 112 Madison Avenue, 7th Floor



7 A finding of sufficient diligence will satisfy the requirement that there was no undue

delay; lack of notice and undue prejudice both fall within the prejudice analysis of Rule
16. Repeated failures to cure deficiencies would presumably negate good cause, but in
any event is entirely inapplicable here, as the Amending Plaintiffs have not previously
attempted to cure deficiencies, nor have any deficiencies in their pleadings been
identified.

                                               13
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 18 of 19. PageID #: 640904




                                       New York, NY 10016
                                       (212) 784-6400
                                       jconroy@simmonsfirm.com

                                       Joseph F. Rice
                                       MOTLEY RICE LLC
                                       28 Bridgeside Blvd.
                                       Mt. Pleasant, SC 29464
                                       (843) 216-9000
                                       (843) 216-9290 (Fax)
                                       jrice@motleyrice.com

                                       Paul T. Farrell, Jr., Esq.
                                       FARRELL & FULLER LLC
                                       270 Munoz Rivera Avenue, Suite 201
                                       San Juan, PR 00918
                                       (304)654-8281
                                       paul@farrellfuller.com

                                       Plaintiffs’ Co-Lead Counsel

                                       /s/ Peter H. Weinberger
                                       Peter H. Weinberger (0022076)
                                       SPANGENBERG SHIBLEY &LIBER
                                       1001 Lakeside Avenue East, Suite 1700
                                       Cleveland, OH 44114
                                       (216) 696-3232
                                       (216) 696-3924 (Fax)
                                       pweinberger@spanglaw.com

                                       Plaintiffs’ Liaison Counsel




                                     14
3070000.5
Case: 1:17-md-02804-DAP Doc #: 5556 Filed: 07/30/24 19 of 19. PageID #: 640905




                               CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2024, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of
record by, and may be obtained through, the Court CM/ECF system.

                                              /s/ Peter H. Weinberger
                                                  Peter H. Weinberger




                                            15
3070000.5
